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                                             January 16, 2019




The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

Re:   Christa McAuliffe Intermediate School PTO, Inc. v. Bill De Blasio, 18 CV11657 (ER)(OTW)

Your Honor:

       We represent the plaintiffs in the above-referenced case. Plaintiffs’ complaint
alleges that Defendants’ expansion and reorganization of the Discovery program violates
their equal protection rights because it was done for the purpose of limiting Asian-
American enrollment at the Specialized High Schools. Our motion for a preliminary
injunction asks the Court to halt those changes before they can have the anticipated
discriminatory effect. As such, we support Defendants’ letter motion asking the Court to
decide our motion for a preliminary injunction by February 25. Plaintiffs seek resolution
of the motion before Defendants distribute Specialized High School offer letters for the
2019-20 school year. We appreciate Defendants’ efforts to recalibrate the admissions
process in order to give the Court time to consider our motion, and we reiterate
Defendants’ request that the Court render a decision on that motion by February 25.

                                             Sincerely,




                                             JOSHUA P. THOMPSON*
                                             WENCONG FA*
                                             OLIVER J. DUNFORD*
                                             CHRISTOPHER M. KIESER*
                                             Counsel for Plaintiffs

                                             *Pro hac Vice pending
